2:22-Cv-02138-CSB-EIL #18-3 Filed: 02/21/24 Pageilofi1

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF ILLINOIS

URBANA DIVISION

QUARTUS STITT, )
Plaintiff, )

) No. 2:22-cv-02138
Vv. )
)
CITY OF DECATUR; DECATUR POLICE, )
DEPARTMENT; OFFICER DOES 1 through 10, )
In their official capacity as police officers ofthe _)
Decatur Police Department, inclusive; DOES, )
1 through 10, inclusive. )
Defendants. )

CITY OF DECATUR RESPONSE TO FIRST SET OF REQUESTS FOR ADMISSIONS

Now Comes Defendant, City of Decatur and for its Response to First Set of Requests For
Admission, state:

1. Admit that the Officer Does as identified and described in the Complaint and your
Answer to the Complaint were hired, employed, trained and/or supervised by you.

Admit

2. Admit that around 4:50 pm on June 26, 2020, the City, by way of the Police Department,
received a call from a female caller through its 911 dispatch advising that the female caller
was the victim of a crime at or near 1360 East Hickory Street, Decatur, IL 62526.

Admit that around 4:50 pm on June 26, 2020, the Central Illinois Regional Dispatch Center
[CIRDC}]received a call from a female caller through to its dispatch advising where the female
called reported suspected unlawful use of a weapon involving an armed suspect at or near 1360
East Hickory Street, Decatur, IL 62526 and that CIRDC reported the identified information in the
call to Decatur Police Department [DPD]. Denies that CIRDC is a City of Decatur entity.

3. Admit that the City, by way of the Police Department, received a cal] that the alleged
perpetrator of the June 26, 2020 incident referenced in RFA No. 2 that occurred at or near
1360 East Hickory Street, Decatur, IL 62526, involved a person named “Vassan Johnson”.

The Request/Interrogatory is vague or ambiguous because it presents an incomplete hypothetical
or does not provide sufficient circumstances to inform identity of the person, the perspective of
the person or the time for that perspective. Without waiving objection except as to a response in
accordance with Instruction # 3 a response is tendered identifying the absent circumstance.
Admit that the CIRDC received a call where the reporting person stated the name “Vassan
Johnson” as involved and “Vassan Johnson” was perceived initially by CIRDC as being the

1
